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                    Exhibit C
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           New York Philharmonic
           April 18 at 4:18 PM ·

    A Message from Our President and CEO, Gary Ginstling
    Dear New York Philharmonic Community,
    The details revealed in the New York magazine article are horrifying to me personally, and, while
    not yet a year into my tenure as President and CEO of the New York Philharmonic, I am deeply
    concerned about not only the specifics but broader issues of institutional culture. Therefore, I
    have taken the following immediate steps:
    1. At my direction, the Philharmonic has engaged Katya Jestin, co-managing partner of the law
    firm Jenner & Block, to launch an independent investigation into the culture of the New York
    Philharmonic in recent years. Katya has extensive experience handling sexual misconduct
    investigations and related matters involving extremely sensitive interviews. I am empowering
    Katya to look at everything and to leave no stone unturned, including any new allegations as they
    are reported. I pledge to share the recommendations with our board, our staff and our musicians
    as well as with the general public. More details on the process will be coming shortly.
    2. For the time being, musicians Matthew Muckey and Liang Wang are not being assigned to any
    Philharmonic activity as we work through this process, and a decision about their future with the
    New York Philharmonic will be made in due course.
    3. The New York Philharmonic is preparing to seek changes to its audition and tenure review
    policies and procedures to provide more transparency, oversight and equity to the process. We
    look forward to working with Local 802 and our musician colleagues on these changes.
    Nothing is more important than the culture of our orchestra and the safety of our musicians and
    staff, and it is only through this process that we will build the kind of vibrant and inclusive culture
    we all want.
    Thank you,
    Gary Ginstling




        334                                                                    152 comments 109 shares

                         Like                       Comment                               Share

    Most relevant
                     ﻿
            Write a comment…

            Lara St John
            The best thing you could do, Mr. Ginstling, is quash the NDA that Cara is confined
            by. I think everyone would like her to be allowed to speak at long last. After that,
            maybe we could all take a look at the Indianapolis situation before you came to New
            York.
            4w   Like     Reply    Edited                                                           95

            Sarah Watts
            Please can you make actions speak louder than words? Maybe start by relieving Cara
            of her NDA and letting her speak and tell her story? The time for silencing women is
            well and truly over. Freedom to speak is essential going forwards.
            4w   Like     Reply                                                               104

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        Janet Horvath
        Heartening and hope justice will prevail in this case as well as changes needed
        industry-wide.
        4w    Like   Reply                                                                      11

        Classical Confidential · Follow
        Gary Ginstling was, however, in charge of the Indianapolis Symphony, and knowingly
        protected and enabled a predator during his time there. Let's have Jestin do a full
        investigation of that as well. #TIMESUP
        4w    Like   Reply    Edited                                                       39

        View all 10 replies

        Jeff Clary
        I used to have a lot of respect for this ensemble, but after reading this story and
        hearing about the complete lack of accountability, it's hard to go back and listen to
        them.
        4w    Like   Reply                                                                      6

        Mary Clark
        "Nothing is more important than the culture of our orchestra and the safety of our
        musicians and staff"... nothing except money, saving face, keeping the NDAs intact,
        hiding past misconduct, and keeping the details out of the press and the courts.
        1w    Like   Reply

        View 1 reply

        Harmony Schneider
        Release Cara from her NDA, apologize, offer to hire her AND Amanda back! Come
        on, these aren't difficult decisions. Do the right thing. This wishy washy statement is
        insulting.
        18h   Like    Reply

        Seiji Shiraishi
        "While not yet a year into my tenure as President and CEO..." i.e., "none of this
        happened under my watch and I need to point that out," is what I took away the
        most from this statement. Also, he didn't mention that he joined the organization in
        Novemb… See more
        4w    Like   Reply                                                                      34

        View all 3 replies

        Jack Humes
        Isn't this a little late? When you offer this only after being outed it seems
        disingenuous. If you are interested in the truth and improving "culture" terminate
        the nondisclosure agreement and shine a bright light on it.
        4w    Like   Reply                                                                      18

        Lina Gonzalez-Granados · Follow
        Thank you Gary for taking the initial steps to help this necessary change.
        4w    Like   Reply                                                   5

        View all 3 replies

        James Wit
        The men involved should also be blacklisted from all musical performances, festivals,
        orchestras, and schools.
        3w    Like   Reply                                                                      7

        View 1 reply

        Russell Johns
        Not nearly enough, several decades too late.
        4w    Like   Reply                        25

        View all 2 replies

        Christina Boyer
        This is a good first step. Now go ahead and release Cara from the NDA while we
        await the results of the investigation.
        4w    Like   Reply                                                                      44

        Katherine Needleman · Follow
        A nice start. Next, announce that you have released Cara Kizer from her NDA.
        4w    Like   Reply                                                           138

        View 1 reply

        Janice Landrum
        Not enough , but I am glad they are doing SOMETHING , at last, too late.
        4w    Like   Reply    Edited                                             8

        Don Sipe
        The women of the Philharmonic should refuse to play any service until these two
        criminals are fired. Bring the institution to a complete halt now. No more half
        measures, no more excuses for anyone. End this now.
        4w    Like   Reply    Edited                                                            14

        View all 2 replies
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        Kelly Riordan
        Understanding that this article was (brilliantly) published on Friday, NYP had six days
        to craft this statement. There is no excuse for the oversight of not mentioning Cara
        or Amanda.
        Also of note: reviewing audition and tenure procedures is a step. I… See more
        4w   Like   Reply                                                               69

        View 1 reply

        Kim A. Rutherford
        Actions speak louder than your forced words -- free Cara from the NDA. The need
        for you to mention your own tenure with the NY Phil is incredibly self-serving.
        No future subscriptions from us until those two are gone for good -- and you've
        stepped down.
        4w   Like   Reply     Edited                                                    11

        Stephanie Streseman Wilkinson
        Release Cara from her NDA.
        2w   Like   Reply

        Jennifer Presar
        Mr. Ginstling, you should also encourage your peer colleagues of the top orchestras
        to take similar steps.
        4w   Like   Reply

        Stephanie Streseman Wilkinson
        Release any other victims you're covering up from their NDAs, too.
        2w   Like   Reply

        Lawrence Franko
        I totally agree that ALL sexual abuse and physical assault/drugging should be
        stopped and prosecuted where appropriate. And there should be 'someone to talk
        to.' I am inclined to put a lot of the blame in this story on the Union. The Union
        could offer… See more
        4w   Like   Reply     Edited

        View all 12 replies

        Astrid Zenon Jenkins
        Y'all have known about this for a long time and are only responding now that the
        story got big. First change is a complete turn over in leadership.
        2w   Like   Reply     Edited

        Karen Fardal
        Too little too late, good luck fixing this when the entire culture is so enmired in
        patriarchal and hierarchical structures that elevate men to untouchable status and
        punish anyone who speaks up and out. It’s not just here, it’s everywhere. How did
        Jam… See more
        4w   Like   Reply     Edited                                                    37

        View all 13 replies

        Heidi Chisholm
        Time is up NYPhil! You've done the wrong thing for too many years. All those that
        supported the criminals in WW and brass section need to go too. There are plenty of
        decent humans out there that can play. Get rid of the rot. That photo of those thr…
        See more
        3w   Like   Reply                                                                 7

        Anthony Barrington
        They’re still not fired LOL what a joke
        4w   Like   Reply                    32

        View all 5 replies

        Jessica MacLean Shekleton
        I do hope they’re suspended without pay.
        3w   Like   Reply

        M Mike Brown
        Release Cara Kizer from her NDA. If anyone should be getting back pay it's her. And
        fire those two rapists before they drag the reputation of your orchestra further into
        mud. Despicable.
        3w   Like   Reply                                                                     2

        Adrian Holton
        How about transparency? Release Cara from her NDA so she has a choice to speak
        freely.
        4w   Like   Reply                                                               18

        Celeste Alexandria Morales
        This is just too sad
        4w   Like   Reply

        View all 3 replies

        Angie M Rivera · Follow
        Relieve Cara from her NDA
        4w   Like   Reply              3
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             4w   Like     Reply            3
                                                                                                                  1   20+



             Dmitry Kustanovich
             Yes yes yes
             4w   Like     Reply

             Alejandra Urrutia
             Wonderful, important and necessary.
             4w   Like     Reply

             Kevin Scully
             What's happening the weekend of May 8th? Still an oboe concerto on the events
             calendar. Edit: They replaced it on the program.
             4w   Like     Reply   Edited                                                      4

            View all 4 replies

             Rae Rae Messenger
             I painted this tonight. It's how I feel about being a woman brass player.




             4w   Like     Reply                                                     3

             Mariane Patenaude
             Malena Lorenson!
             4w   Like     Reply

             Carolyn Marie
             Release the poor woman from her NDA, and MAYBE you can save face
             3w   Like     Reply

             Luke Hollis
             It’s nice to see the NYP cares about having a safe work environment for women after
             getting outed following every effort to cover it up. What a sad, shameful situation.
             4w   Like     Reply                                                               33

            View all 3 replies

             Eliza Rodriguez
             Release Cara from her NDA.
             4w   Like     Reply            11

             Veronica AReader
             Drop the NDA. Let Cara speak.
             4w   Like     Reply                 17

            View all 3 replies
    Most relevant is selected, so some comments may have been filtered out.
